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                         UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                              NORTHERN DIVISION

GENBIOPRO, INC.                                                                     PLAINTIFF

V.                                                        C.A. NO. 3:20-CV-00652-HTW-LRA

DR. THOMAS DOBBS, STATE HEALTH OFFICER                                           DEFENDANTS
OF THE MISSISSIPPI DEPARTMENT OF HEALTH,
IN HIS OFFICIAL CAPACITY


                    GENBIOPRO, INC.’S RESPONSE IN OPPOSITION
                       TO DEFENDANT’S MOTION TO DISMISS


     Plaintiff, GenBioPro, Inc. (“GBP”), by and through counsel, hereby files this Response in

Opposition to Defendant’s Motion to Dismiss. In support of its Response, Plaintiff respectfully

represents to the Court as follows:

        1.     Plaintiff’s arguments and authorities in support of its Response in Opposition to

Defendant’s Motion to Dismiss are fully set forth in the accompanying Memorandum Brief in

Support of Plaintiff’s Response in Opposition to Defendant’s Motion to Dismiss.

        2.     Defendant Dr. Thomas Dobbs, State Health Officer of the Mississippi Department

of Health, seeks to dismiss the Complaint on the grounds that GBP lacks standing because it failed

to allege an injury-in-fact traceable to Mississippi’s restrictions on the use and sale of GBP’s

product. Defendant further alleges that the Complaint must be dismissed because GBP has failed

to state a claim for conflict preemption or under the dormant Commerce Clause. But this is simply

a refusal to accept, as the Court must on a motion to dismiss, that the actual allegations in the

Complaint meet the well-established legal requirements for standing and state a claim for implied

preemption and dormant Commerce Clause.
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          3.     GBP pleaded in its Complaint that (1) GBP is the only company in the United States

approved by the FDA to market and sell the generic version of the prescription drug mifepristone,

an FDA-approved medication; (2) Congress granted the FDA the exclusive authority to regulate

GBP’s product under a detailed and thorough statutory scheme, which the FDA has done, that

balances the public health benefits of the medication with its risks; (3) Mississippi enacted

restrictions that conflict with the FDA’s carefully constructed balance and frustrate the purpose of

the federal regulatory scheme; and (4) Mississippi’s draconian restrictions have severely curtailed

the sale and use of GBP’s product within the state of Mississippi, causing financial harm to GBP.

          4.     Nothing more is required at this stage.      Because GBP plainly alleges that

Mississippi’s regulatory scheme conflicts with the FDA’s regulatory scheme and frustrates its

purpose, and that Mississippi’s restrictions have caused and will continue to cause GBP to lose

sales, the motion to dismiss must be denied.

          WHEREFORE, Plaintiff respectfully requests that the Defendant's Motion to Dismiss be

denied.

          Dated: November 20, 2020
                                                      Respectfully submitted,

                                                      GENBIOPRO, INC.

                                                      By Its Attorneys,

                                                      BAKER DONELSON BEARMAN
                                                      CALDWELL & BERKOWITZ, PC


                                                      By: s/ J. Carter Thompson, Jr.
                                                         J. CARTER THOMPSON, JR.




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OF COUNSEL:

J. Carter Thompson, Jr. (MSB No. 8195)
cthompson@bakerdonelson.com
D. Sterling Kidd (MSB #103670)
skidd@bakerdonelson.com
BAKER DONELSON BEARMAN CALDWELL & BERKOWITZ, PC
One Eastover Center
100 Vision Drive, Suite 400 (ZIP 39211)
Post Office Box 14167
Jackson, MS 39236-4167
Telephone: (601) 351-2400
Facsimile: (601) 351-2424

U. Gwyn Williams (admitted pro hac vice)
Gwyn.williams@lw.com
Allison Lukas Turner (admitted pro hac vice)
Allison.turner@lw.com
LATHAM & WATKINS LLP
200 Clarendon Street, 27th Floor
Boston, MA 02116
Telephone: (617) 880-4500



                                CERTIFICATE OF SERVICE

       I certify that I have this day electronically filed the foregoing with the Clerk of the Court

using the ECF system which served a copy upon all counsel of record who have registered with

that system.

     This the 20th day of November, 2020.
                                                      /s/ J. Carter Thompson, Jr.
                                                      J. CARTER THOMPSON, JR.




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